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1
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8

9                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
10

11                                                         ) Case No.
12
       SKY D. SHADOW, an Individual on                     )
      behalf of herself and all others similarly           )
13    situated,                                            )   3:17-cv-02277-L-BLM
14    Plaintiff,                                           )
      vs.                                                  ) NOTICE OF SETTLEMENT
15
      MIDLAND CREDIT MANAGEMENT,                           ) AS TO INDIVIDUAL CLAIMS
16    INC.                                                 ) ONLY
17
      Defendant.                                           )
                                                           )
18
                                                           )
19

20         NOW COMES THE PLAINTIFF by and through their attorney to
21
     respectfully notify this Honorable Court that this case has settled individually.
22
     Plaintiff requests that this Honorable Court vacate all pending hearing dates and
23
     allow sixty (60) days with which to file dispositive documentation. This Court
24
     shall retain jurisdiction over this matter until fully resolved.
25
     Dated: May 4, 2020                 Law Offices of Todd M. Friedman, P.C.
26

27                                                              By: s/ Todd M. Friedman
28                                                                    Todd M. Friedman



                                         Notice of Settlement
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1
                             CERTIFICATE OF SERVICE
2

3    Filed electronically on May 4, 2020, with:
4
     United States District Court CM/ECF system
5

6
     Notification sent electronically on May 4, 2020, to:

7    To the Honorable Court, all parties and their Counsel of Record
8

9
     s/Todd M. Friedman
10    Todd M. Friedman
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                                       Notice of Settlement
